   Case 2:12-cr-00048-MHT-TFM Document 353 Filed 06/17/13 Page 1 of 4




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA               )
                                       )           CRIMINAL ACTION NO.
       v.                              )              2:12cr48-MHT
                                       )                  (WO)
MICHAEL SMITH                          )

                                      ORDER

       It   is   ORDERED       that    the    reconsideration        of    the

government’s oral Batson challenge to the jury to the

jury selection process is denied.                   The jury trial will

proceed today.

                                       ***

       To be sure, the law is clear that the striking of

even    just     one   juror    because       of   his   or   her   race    is

impermissible.         However, as the court said at the hearing

on yesterday, that is, Sunday, the court has carefully

considered the government’s Batson challenge and, in

particular, the reconsideration of that challenge, and

the court has decided to reject the challenge.                      The most
     Case 2:12-cr-00048-MHT-TFM Document 353 Filed 06/17/13 Page 2 of 4




telling evidence is defense counsel Freeman’s notes,

which were provided to the court on Sunday.                      Prior to

receiving those notes, the court was deeply concerned

about juror A because juror A, who is black, was struck

while juror B, who is white, was not struck, even though,

as to the reasons given to the court on Thursday of last

week    for    striking       juror       A,   the   two     jurors    were

essentially similarly situated.                (The court refers to the

jurors by letters so as to preserve their anonymity.

Counsel should be able to deduce which jurors the court

is referring to.        In any event, the court will file under

seal an order that is clear as to the specific jurors at

issue.)      However, now that the court has been made aware

of     the    lack   of    communication         (and,     indeed,     mis-

communication)        among    defense         counsel     and   has   been

provided with defense counsel Freeman's notes,                   the court

is convinced that defense counsel struck juror A for

nonracial reasons.            Specifically, Ms. Freeman’s notes




                                      2
   Case 2:12-cr-00048-MHT-TFM Document 353 Filed 06/17/13 Page 3 of 4




showed concern that juror A had two daughters close in

age to the victim in this case.

    As to juror C, during the proceedings on Thursday of

last week, defense counsel would put forward a reason for

striking her, that reason would prove to be completely

contradicted by the record, defense counsel would then

put forward another reason, that reason would then prove

to be contradicted by the record, and so forth.                  Again,

on Sunday, defense counsel Freeman's notes clearly set

forth reasons which were nonracial for striking juror C.

Defense counsel Freeman’s notes supported her statement

that the defense struck juror C because she was very

close in age to the victim.            Moreover, the contradiction

between the record and the reasons given for striking

juror C was so obvious, that the court is now convinced

that an unintentional mistake was made due to lack of

communication among defense counsel.

    Nevertheless, as the court indicated on Sunday, the

law mandates that, just as the government is required to



                                   3
   Case 2:12-cr-00048-MHT-TFM Document 353 Filed 06/17/13 Page 4 of 4




articulate credible reasons for striking jurors in the

face of a Batson challenge supported by a prima-facie

case, the defense is required to do the same in the face

of such a challenge.       And just as the government counsel

must be ready with their reasons, defense counsel must be

ready with their reasons.         What is good for the goose is

good for the gander.        Despite the fact that the Freeman

notes provided on Sunday have saved the day for defense

counsel, that standard was not met by defense counsel at

the time of the Batson challenge hearing on Thursday of

last week.

    An opinion setting forth in more detail the court’s

reasoning will follow.

    DONE, this the 17th day of June, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
